                                        UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF ARIZONA

                                                        Minute Entry
Hearing Information:
                         Debtor:   CATHERINE ANNE WILLIAMSON
                  Case Number:     2:15-BK-15653-PS          Chapter: 13

          Date / Time / Room:      TUESDAY, AUGUST 13, 2019 10:00 AM 6TH FLOOR #601

         Bankruptcy Judge:         PAUL SALA
               Courtroom Clerk:    ANDAMO PURVIS
                Reporter / ECR:    KAREN DOANE                                                        0.00


Matter:
              CONTINUED HEARING ON DEBTOR'S OBJECTION TO TRUSTEE'S PROPOSED DISMISSAL ORDER
              R / M #:   194 / 0


Appearances:

        RACHEL ELIZABETH FLINN, ATTORNEY FOR RUSSELL BROWN
        MARK WESBROOKS, ATTORNEY FOR CATHERINE ANNE WILLIAMSON
Proceedings:                                                                                   1.00


        Ms. Flinn states the debtor is current on plan payments. There is one
        remaining signature needed for the SOC. She requests the hearing be
        continued.

        Mr. Wesbrooks answers the Court's questions. He agrees with Ms.
        Flinn's statements.

        COURT: IT IS ORDERED CONTINUING THIS MATTER TO TUESDAY
        SEPTEMBER 17, 2019 AT 2:30 PM.




     Case 2:15-bk-15653-PS                  Doc 244 Filed 08/13/19 Entered 08/14/19 16:09:24    Desc
                                                                                         08/14/2019 4:09:12PM
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